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 1    Guy B. Wallace, State Bar No. 176151           Gay Crosthwait Grunfeld, State Bar No.
      Mark T. Johnson, State Bar No. 76904           121944
 2    Travis C. Close, State Bar No. 308673          Benjamin Bien-Kahn, State Bar No. 267933
      Rachel L. Steyer, State Bar No. 330064         Jenny S. Yelin, State Bar No. 273601
 3    SCHNEIDER WALLACE                              Amy Xu, State Bar No. 330707
      COTTRELL KONECKY LLP                           ROSEN BIEN GALVAN & GRUNFELD
 4    2000 Powell Street, Suite 1400                 LLP
      Emeryville, CA 94608                           101 Mission Street, Sixth Floor
 5    Telephone: (415) 421-7100                      San Francisco, CA 94105-1738
      Facsimile: (415) 421-7105                      Telephone: (415) 433-6830
 6    Email: gwallace@schneiderwallace.com           Facsimile: (415) 433-7104
             mjohnson@schneiderwallace.com           Email: ggrunfeld@rbgg.com
 7           tclose@schneiderwallace.com                    bbien-kahn@rbgg.com
             rsteyer@schneiderwallace.com                   jyelin@rbgg.com
 8                                                          axu@rbgg.com
 9    Kathryn A. Stebner, State Bar No. 121088       David T. Marks (pro hac vice)
      Brian S. Umpierre, State Bar No. 236399        Jacques G. Balette (pro hac vice)
10    STEBNER & ASSOCIATES                           Jason N. Young (pro hac vice)
      870 Market Street, Suite 1212
11    San Francisco, CA 94102                        MARKS, BALETTE, GIESSEL
      Telephone: (415) 362-9800                      & YOUNG, P.L.L.C.
12    Facsimile: (415) 362-9801                      7521 Westview Drive
      Email: kathryn@stebnerassociates.com           Houston, TX 77055
13           brian@stebnerassociates.com
                                                     Telephone: (713) 681-3070
14                                                   Facsimile: (713) 681-2811
                                                     Email: davidm@marksfirm.com
15                                                            jacquesb@marksfirm.com
16                                                            jasony@marksfirm.com

17   Attorneys for Plaintiffs and the Proposed Classes
18                                UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
20                                       OAKLAND DIVISION
21   STACIA STINER, et al., on behalf of                 Case No. 4:17-cv-03962-HSG (LB)
     themselves and all others similarly situated,
22                                                       DECLARATION OF DALE
                   Plaintiffs,                           SCHROYER IN SUPPORT OF
23
     vs.                                                 PLAINTIFFS’ MOTION FOR
24                                                       CLASS CERTIFICATION
     BROOKDALE SENIOR LIVING, INC.;
25   BROOKDALE SENIOR LIVING
     COMMUNITIES, INC.; et al.,
26                                                       Date:    May 26, 2022
                   Defendants.                           Time:    2:00 p.m.
27                                                       Place:   Courtroom 2
                                                         Judge    Hon. Haywood S. Gilliam, Jr.
28
                                                REDACTED
                                                                   Case No. 4:17-cv-03962-HSG (LB)
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 1                        DECLARATION OF DALE SCHROYER
 2        1.     I, Dale Schroyer, declare as follows:
 3        2.     I am over the age of 18 and I am competent to testify to the matters stated
 4 in this declaration. If called and sworn as a witness I can and will to testify, based on
 5 my personal knowledge, to those matters set forth below.
 6        3.     This declaration contains 12 sections. A list of these sections and the
 7 corresponding pages number are set forth in the Table of Contents that follows.
 8        I.     Introduction ............................................................................... 1
 9        II.    ProModel/MedModel ................................................................. 4
10        III.   Qualifications and Simulation Background .............................. 12
11        IV.    Summary of Key Findings ........................................................ 18
12        V.     Overview: The Basis for MedModel’s DES Testing............... 19
13               and Failure Analysis of Brookdale Facilities
14        VI.    Brookdale Facility Specific Raw Data and Floor Plans ........... 19
15        VII. Summaries of Voluminous Facility-Specific Raw Data........... 22
16               for the Selected Brookdale Facilities
17        VIII. Brookdale Policy and Practice Documents .............................. 28
18        IX.    General Inputs and Programming Logic .................................. 29
19        X.     Validation and Calibration of MedModel DES Testing ........... 38
20               and Failure Analysis of Brookdale Facilities
21        XI.    MedModel DES Testing and Failure Analysis ......................... 41
22               of Brookdale Facilities
23        XII. Approach for Analyzing Other Brookdale ............................... 58
24               California Facilities
25                                      I.       INTRODUCTION
26        4.     I am currently employed as a systems engineer and Senior Consultant
27 by ProModel/MedModel where for over 20 years I have been professionally
28 responsible for the design, testing, and operation of discrete event simulation (DES)
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 1 models built upon ProModel/MedModel software. This ProModel/MedModel
 2 analytic tool and computational software is widely-used by the military and in the
 3 healthcare, manufacturing, pharmaceutical, and service industries to mathematically
 4 determine:
 5                a.    the minimum amount of labor time or staff resources required in
 6        a workplace to perform all defined work tasks during a set timeframe,
 7                b.    the maximum work capacity of a set number of staff (i.e. the
 8        maximum amount of work tasks (care services) that can be performed by a
 9        precise number of workers during a defined timeframe), and
10                c.    the quantity of tasks (care services), if any, that cannot possibly
11        be performed during a set timeframe by a set number of staff due to workload
12        exceeding maximum work capacity.
13        5.      This computational analysis and these key metrics are used across the
14 healthcare, manufacturing, pharmaceutical, and service industries to inform
15 operational decisions about staffing and resource allocation, deployment, and
16 utilization, as well as to provide solutions that improve efficiency, productivity, and
17 throughputs.
18        6.      My job, as a systems engineer, is to break down a work system into
19 discrete work tasks, identifying each task that requires work time during a workday,
20 understanding how much time workers spend on each task, and defining and
21 capturing every realistic variable that impacts task performance and work
22 completion. These objectively verifiable facts are inputted into an engineering
23 analytic tool known as Discrete Event Simulation (DES). A discrete event simulation
24 (DES) is an industrial engineering tool that reproduces a work system by virtual
25 modelling and digitally recreating all elements of that system, in order to test and
26 measure the capacity of the resources to perform the work required. A staffing DES
27 provides a method of accurately analyzing and mathematically determining, in even
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 1 the most complex systems, how much work can be completed when the amount of
 2 resources or other operational conditions are modified.
 3           7.     ProModel/MedModel1 was engaged in this case to apply the same
 4 methodologies routinely used by the military and in the healthcare, manufacturing,
 5 pharmaceutical, and service industries to scientifically determine and quantify (a) the
 6 minimum amount of labor (staff) time required on a per day basis at Brookdale
 7 California facilities to deliver all care task and services (documented as required in
 8 each resident’s assessments), (b) the maximum work capacity of a set number of
 9 Brookdale staff (i.e., the maximum amount of work tasks (care services) that can be
10 performed by a set number of Brookdale staff during a defined timeframe), and (c)
11 the quantity of work tasks (care services), if any, that cannot possibly be performed

12 during a set timeframe by a set number of staff due to the workload exceeding
13 maximum work capacity.
14           8.     As part of this engagement, ProModel/MedModel performed
15 engineering tests and failure analyses for 6 selected Brookdale facilities in order to
16 determine if Brookdale allocated enough staff hours to provide the care services
17 documented as being required in its resident assessments.
18           9.     It is my understanding that Plaintiffs’ counsel has requested complete
19 resident assessment data for all Brookdale California facilities, the move-out dates
20 for any resident of these facilities (i.e., if any resident moved-out of a Brookdale
21 California facility, the move-out date for such resident), and punch detail staffing
22 data for employees of these facilities. It is also my understanding that to date,
23 Brookdale has not produced all requested data. More specifically, I have been
24 informed by Plaintiffs counsel that Brookdale has not produced complete resident
25 assessment data and move-out data for all its California facilities to date and that
26 more data is expected to be produced by Brookdale in the future. Assuming that
27
     1
      MedModel is the healthcare-specific application of ProModel’s analytic and
28
     computational engineering software.
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 1 Brookdale produces all requested data, the same DES engineering methodology,
 2 testing and failure analysis that was performed for these 6 selected facilities can be
 3 performed for all the other Brookdale California facilities.
 4                             II.    PROMODEL/MEDMODEL
 5           10.    Who Is ProModel/MedModel:             ProModel/MedModel is a leading
 6 simulation2 analytics company whose DES testing and computational software is
 7 used and relied upon by the U.S. military, manufacturing and service industries, and
 8 healthcare institutions across the country. ProModel/MedModel’s DES testing and
 9 computational software measures and determines if (a) it is mathematically and
10 physically possible for the number of workers scheduled on a job to handle the
11 assigned workload (i.e. complete every task required to be performed) and (b) what

12 quantity of work can and cannot be performed when different numbers of workers
13 (or resources) are allocated to a job.
14           11.    Use of ProModel Simulations in Academia:                       ProModel’s
15 computational and engineering software is taught and used by leading engineering
16 schools & research institutions across the country. Over 80 universities and research
17 institutions in North America are teaching DES using the ProModel platform. These
18 include the MIT Sloan School of Management, McGill University, University of

19 Michigan - Ann Arbor, University of Southern California, University of Texas –
20 Austin, Yale University, University of Southern California, California State –
21 Hayward, Clemson University, CalPoly Pomona, San Jose State University,
22 California State University – Fresno, University of California--Los Angeles, and
23 Central Washington University CWU - Des Moines.
24
25
26   2
     Computers have been used to simulate reality with increasing frequency and
27 sophistication since the first large-scale deployment during the Manhattan Project in
   World War II, when simulations were used to model the process of nuclear
28
   detonation.
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 1        12.    Using DES to Perform Failure Analysis and Test Staffing Levels:
 2 Discrete Event Simulations are particularly appropriate for testing staffing levels and
 3 performing workload and workforce failure analysis. DES has long been used for
 4 these purposes in testing a wide array of work-place systems, including healthcare
 5 systems. Staffing simulations help decision-makers analyze and understand workload
 6 patterns and staffing needs that are not easily recognized or commonly understood.
 7 One of the advantages of DES analysis is that it allows thousands of realistic work
 8 scenarios to be tested, varying, for example, the times that services are to be provided
 9 in order to determine the most efficient schedule that results in the most work
10 performed by the same number of staff. Further, DES analysis of staffing is
11 particularly helpful when incorrect staffing decisions or invalid workload and time

12 study assumptions can have risky or dangerous real-world consequences. By being
13 able to safely simulate staffing levels, proposed decisions can be tested to determine
14 the point at which a work system begins to fail, without risk of injury. Discrete event
15 simulation modeling is widely-used and generally-accepted by the scientific and
16 professional community as a reliable tool for testing and determining (1) capacity of
17 a defined number of staff (the workforce) to meet the demands imposed by the work
18 system and (2) the percent of services that are physically possible or impossible (i.e.,

19 failed or omitted).
20        13.    ProModel’s computational software calculates how many workers are
21 needed to perform a defined set of job tasks. The U.S. military, leading manufacturing
22 and service companies, and healthcare institutions across the country use and depend
23 upon ProModel for such determinations. ProModel’s computational software
24 measures and determines if it is physically possible for the number of workers
25 scheduled on a job to handle the assigned workload (i.e., perform all essential tasks
26 in a defined amount of time).
27        14.    Use of ProModel Staffing Simulations in the Military: For over 25
28 years, the United States Department of Defense has depended upon ProModel to
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 1 determine the number of soldiers, support personnel, and resources needed to
 2 successfully complete missions. The ProModel software has been used and relied
 3 upon by all branches of the United States military, including the Army, Navy, Air
 4 Force, Marines, the Joint Chiefs of Staff, The Center for Army Analysis, Special
 5 Forces, the Naval Air Warfare Center, and the Naval Air Systems Command. Further,
 6 ProModel software is accredited by the United States Department of Defense as the
 7 authoritative, proven, and exclusive system of record on the Army Classified
 8 Network for determining the number and type of Army units and associated military
 9 personnel that are needed for every Army mission. The Army has mandated, for every
10 mission conducted over the past 10 years, that ProModel’s software be used to test
11 and determine the number, timing and type of Army units and personnel required.

12        15.   Use of ProModel Staffing Simulations in the Manufacturing and
13 Service Industries:     For over 25 years, ProModel software has been used by
14 companies across the United States to make decisions regarding staffing resources
15 and operational design and determine the capacity of resources to meet workload
16 demands. There are now over 4,000 users of ProModel technology. ProModel is used
17 and relied upon by over half of the Fortune 500. A few examples of companies that
18 use ProModel software include: FedEx, Ford, John Deere, Timex, General Electric,

19 DuPont, Boeing, Harley Davidson Motor Company, General Motors, Whirlpool
20 Corporation, CocaCola, IBM, JetBlue, and Lockheed Martin. In California, the
21 following companies use ProModel: Raytheon, Rolls Royce, Pfizer – La Jolla,
22 Oculus, Bumble Bee Foods, LLC, and Wells Fargo.
23        16.   Use of ProModel/MedModel Staffing Simulations in Healthcare:
24 For over 25 years, ProModel/MedModel computational software has been used and
25 relied upon by hospitals, emergency rooms, medical clinics, and other healthcare
26 facilities across the country to make decisions regarding staffing resources and
27 operational design and determine the capacity of resources to meet workload
28 demands. More hospitals use MedModel than all other simulation software
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 1 combined. Examples of MedModel users in healthcare include: Mayo Clinic, Texas
 2 Children’s Hospital, John Hopkins Hospital, Massachusetts General Hospital, MIT;
 3 Harvard Medical School Teaching Hospital, Stanford Hospital & Clinics, University
 4 of Arkansas Medical Center, MD Anderson Cancer Network, Emory Healthcare,
 5 Children’s National Medical Center, Kaiser Permanente, Baylor Health Care System,
 6 Cleveland Clinic, UNC-Chapel Hill Medical Center, HCA Hospitals, Providence
 7 Health Systems, OSU Medical Center, UVA Medical Center, UAB-Birmingham
 8 Medical Center, Seattle Children’s Hospital, and Swedish Medical Center Seattle. In
 9 California, healthcare users include: AltaMed, Stanford Medical Center, Stanford
10 Blood Center, Verb Surgical, HOAG: Hospital Foundation, University of California,
11 and San Diego Medical Center.

12        17.   Use of ProModel/MedModel Software to Determine How Much
13 Staff Time Is Required to Provide Care and Services in Long-Term Care
14 Facilities: Since at least 2000, MedModel computational software has been used to
15 determine the capacity of nursing home staff to meet the care needs of the facility’s
16 resident population. The Centers for Medicare and Medicaid Services and principal
17 researcher Dr. John F. Schnelle used and relied upon MedModel to digitally model
18 and reproduce the operation of nursing homes to mathematically test the effect that

19 different numbers of staff have on the delivery of basic care to residents. More
20 specifically, MedModel was used to mathematically determine (1) what happens to
21 the delivery of basic care when the nurse aide-to-resident ratios are increased or
22 decreased in low, medium, and high workload nursing homes and (2) the minimum
23 staffing ratios and hours required to provide the basic care needed by residents. For
24 purposes of this extensive study, the basic care examined and modeled on
25 Med/Model’s software platform was toileting, incontinent care, repositioning,
26 feeding, bathing, AM/PM care (including dressing, transferring, and personal
27 hygiene), exercise, and range of motion provided by CNAs. The results of this study
28 were published by CMS in December 2001 in the Phase II Final Report regarding
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 1 the Appropriateness of Minimum Nursing Staff Ratios in Nursing Homes, which was
 2 submitted to the United States Congress (“Phase II Report”). With respect to the
 3 MedModel-based Phase II simulation findings, CMS reported to the United States
 4 Congress that:
 5               “The simulation models do not create data to predict theoretical
 6               outcomes nor are they based on theoretical ‘unknowns.’ On the
 7               contrary, they take what is known and use these ‘givens’ to
 8               mathematically predict outcomes, usually with a high degree of
 9               accuracy.”
10               Using simulation analytic strategies, labor-intensity data can be
11               converted mathematically into estimates of minimum staffing
12               ratios needed.”
13 [Emphasis added].
14 Further, in 2004, the Institute of Medicine (National Academy of Sciences) in its report
15 entitled Keeping Patients Safe adopted staffing standards based on Dr. Schnelle’s
16 Phase II work. The reliance by CMS on the MedModel software and the subsequent
17 adoption of the MedModel results by the Institute of Medicine affirms this
18 technology’s general acceptance.

19         18.      Use of MedModel in Assisted Living Facilities: MedModel software
20 can be and has been applied to reliably test how many staff are required to provide
21 care and services to residents in assisted living facilities. In 2012, MedModel testing
22 was used by a chain in Minnesota to: (1) determine the maximum care capacity of
23 staff at its assisted living facilities and nursing homes, (2) determine at which point
24 resident workload exceeded staffing capacity and resulted in failure to deliver
25 services (failure analysis), and (3) assist that chain in making staffing decisions.
26 Further, the use of discrete event simulation in assisted living facilities to objectively
27 determine the amount of staffing required based on the unique needs of a patient
28
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 1 population was acknowledged to be an accepted methodology in the peer-reviewed
 2 publication The Gerontologist (2017):
 3         Given the availability of time data similar to that reported in this study
 4         for all aspects of daily care, common staffing methodologies, such as
 5         those based on discrete event simulation modeling, could be used to
 6         objectively determine the most optimal staffing model for an individual
 7         facility based on their unique resident population.” (citing Schnelle,
 8         Schroyer, Saraf, & Simmons, 2016). Given the similarities between the
 9         NH resident population and those receiving dementia care services in
10         ALFs (Zimmerman et al., 2013), we believe this approach is equally
11         applicable to the ALF care setting.” (emphasis added).
12 Managing Person-Centered Dementia Care in an Assisted Living Facility: Staffing
13 and Time Considerations, Simmons, Coelho, Sandler, Shah and Schnelle,
14 Gerontologist, 2017, Vol. 00. No. 00, 1-9, doi:10.1093/geront/gnx089.
15         19.   As discussed previously, basic care services such as toileting,
16 incontinent care, feeding, bathing, dressing, transferring, and personal hygiene which
17 are provided by assisted living facilities to assisted living residents (unable to perform
18 the same) have been the subject of extensive DES testing and analysis by

19 ProModel/MedModel in numerous nursing homes. Further, the nursing care,
20 treatments, and medications required to be provided by assisted living staff to assisted
21 living residents are similar to the care, treatments, and medications modeled,
22 measured, and analyzed by ProModel/MedModel in emergency rooms, hospitals, and
23 other healthcare facilities.
24         20.   What Do All These ProModel/MedModel Computational Analyses
25 Have in Common?:           Regardless of the industry or workplace where applied,
26 ProModel/MedModel’s staffing DES is grounded in the same methods and
27 procedures       of    science,     industrial    engineering,     and      mathematics.
28 ProModel/MedModel’s software and staffing analyses is particularly well-suited to
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 1 an examination and study of repetitive tasks performed in any workplace by a known
 2 number of workers over a known amount of time and distance. For example:
 3              a.     Using DES to Analyze Staffing Levels: DES is particularly
 4        appropriate for use in analyzing staffing levels for virtually any type of work-
 5        place system, including healthcare systems, and simulations have long been
 6        used for that purpose. Such staffing DES is quite useful in helping decision-
 7        makers understand staffing needs and patterns that are not easily recognized or
 8        commonly understood. Staffing DES is particularly helpful when incorrect
 9        staffing decisions could have risky or dangerous real-world consequences. By
10        being able to safely simulate staffing levels, proposed decisions can be tested
11        without fear of injury. A wide variety of industries, including health care, rely
12        on DES to determine: (1) capacity of staff to meet the demands imposed in the
13        workplace and (2) proportion of services provided and omitted.
14              b.     Methodological Similarities Between All Staffing DES Analyses:
15        The basic methodology used to create staffing DES is the same across
16        industries and simulation platforms/software. When a specific number of staff
17        is required to perform a defined number or combination of tasks with
18        associated, defined labor time costs in certain physical locations at defined
19        distances within a specific period of time, a valid computer staffing simulation
20        can be created.
21              c.     Formulae Common to Staffing DES: Staffing DES analyses use
22        an array of simple logic, math, statistical concepts, and user defined
23        distributions to account for variation, priority and structure. These include how
24        long a specific task takes to complete, how long it takes to travel from one
25        point to another, what tasks must be done, and how many staff members are
26        available to do the work.
27        21.   Peer-Review of MedModel and ProModel Software: Discrete event
28 simulation technology is and has been widely used by the healthcare research
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 1 community and is generally accepted as a reliable method for analyzing the capacity
 2 of a resource to meet a need. The use of simulations created using specifically
 3 MedModel and ProModel have appeared in numerous scholarly journal articles
 4 subject to peer review, including but not limited to:
 5               a.    Schnelle JF, Schroyer LD, Saraf AA, Simmons SF (2016),
 6        “Determining Nurse Aide Staffing Requirements to Provide Care Based on
 7        Resident Workload: A Discrete Event Simulation Model,” 17 Journal of the
 8        American Medical Directors Association pp. 970-977 (cited as Schnelle 2016
 9        JAMDA);
10               b.    “Simulation Success: Software Improves Practice Efficiencies,”
11        Medical Group Management Association’s MGMA Connexion, March 2011,
12        page 19;
13               c.    Cancelarich Joe, (2011) “Building a Modeling Culture in
14        Manufacturing at Pfizer,” Pharmaceutical Manufacturing;
15               d.    Day TE, Li WM, Ingolfsson A, Ravi N, (2010) “The Use of
16        Queuing and Simulative Analyses to Improve an Overwhelmed Pharmacy Call
17        Center,” Journal of Pharmacy Practice, 23(5) (in press);
18               e.    Levin SR, Dittus R, (2008), “Optimizing cardiology capacity to
19        reduce emergency department boarding: A systems engineering approach,”
20        American Heart Journal (article in press); and
21               f.    Khare RK, Powell ES, (2008), “Adding More Beds to the
22        Emergency Department or Reducing Admitted Patient Boarding Times: Which
23        Has a More Significant Influence on Emergency Room Congestion?,” Annals
24        of Emergency Medicine.
25 As is the case with the CMS’ conclusions based on the MedModel computational
26 software set out in Phase II Report to Congress (discussed above), these peer-
27 reviewed articles confirm the general acceptance of ProModel/MedModel’s
28 computational analysis.
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 1        22.     General Acceptance by the Relevant Scientific Community:
 2 MedModel’s computational DES software is generally accepted by the relevant
 3 community of scientists expected to be familiar with its use. The relevant scientific
 4 community is comprised of scientists who use computer simulations in the field of
 5 management science. Based on its long history of use by numerous reputable entities,
 6 including prestigious universities, the U.S. Military, Fortune 500 companies, and
 7 leading healthcare companies, MedModel’s programming platform is a reliable tool
 8 and generally accepted by this relevant scientific community.
 9        23.     MedModel Can Be Used to Quantify the Amount of Care Time
10 Required and Omitted at Brookdale’s Assisted Living Facilities: Like the various
11 DES testing in other settings described above, the MedModel assisted living DES

12 testing and failure analysis performed regarding the Brookdale facilities is grounded
13 in the same methods and procedures of science, industrial engineering, and
14 mathematics, and it has been subjected to the same intellectual rigor, scientific
15 methodology, and industrial engineering principles.
16        24.     MedModel’s      simulation   software    provides    a   well-established
17 methodology to reliably determine the amount of care time required per day in
18 Brookdale’s assisted living facilities and quantify the extent to which available staff

19 time was sufficient or insufficient.
20         III.   QUALIFICATIONS AND SIMULATION BACKGROUND
21        25.     I have extensive experience in the use of DES testing and failure analysis
22 to determine the capacity of a defined number of staff to provide care and services to
23 residents in assisted living facilities and am qualified to conduct such testing and
24 analysis.
25        26.     Education and Experience:         I graduated from the University of
26 Michigan -- Ann Arbor in 1977 with a Bachelor of Science degree in Mechanical
27 Engineering. In 1995, I obtained a Master’s degree in Management Science from
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 1 Lesley University in Cambridge, Massachusetts. As discussed below, since the mid-
 2 1990s I have had extensive experience with discrete event simulations.3
 3              a.     Aerospace Employment: From 1980 to 1994, I was a Project
 4        Engineer at the Hamilton Sundstrand Division of United Technologies.
 5        Hamilton Sundstrand is a global enterprise with various business units that
 6        design, manufacture, and support aerospace and industrial products for
 7        worldwide markets. It is the prime contractor for NASA’s space suite/life
 8        support system and produces environmental control, life support, mechanical
 9        systems, and thermal control systems for international space programs.
10              b.     At Hamilton Sundstrand, my work included serving as internal
11        consultant for operations improvement for the engineering and operations
12        departments, reporting to the Vice- President of Engineering and Operations.
13        This work included statistical process control, IS0-9000 certification, and total
14        productive maintenance. Part of my responsibilities at Hamilton Sundstrand
15        was to perform kinematic simulations of the three-dimension Computer Aided
16        Drafting models of machinery designs to ensure they met performance
17        requirements prior to initiating prototyping of the new design.
18              c.     Health System Employment: From 1994 to 2000, I served as a
19        Senior Corporate Management Engineering Consultant for Baystate Health
20        System in Springfield, Massachusetts. Baystate Health System has nearly
21        10,000 employees and operates some 783 beds in 4 hospitals. I was hired by
22        Baystate Health System specifically for my simulation experience since they
23        had already made the decision to simulate using MedModel key major revisions
24        to their health system and needed someone with simulation experience who
25        understood the requirements of properly defining a simulation model and
26
27  See my curriculum vitae that sets forth my qualifications, MEDMODEL0001, and
     3


28 my prior deposition and trial testimony, MEDMODEL0002.
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 1        correctly interpreting the output results. In this capacity, I facilitated quality
 2        improvement efforts throughout the System including setting standards,
 3        facilitating business re- engineering teams, information systems analysis, and
 4        performing discrete event simulations using the ProModel/MedModel engine
 5        and computational software. ProModel DES testing was used as a tool for
 6        decision-making and educating the management team about the consequences
 7        of proposed actions. From the mid-1990s to 2000, I simulated various actions
 8        proposed by management. This allowed us to understand the effect of those
 9        actions without putting patients at risk.
10              d.     ProModel/MedModel: In 2000, I began working for ProModel
11        Corporation as a Senior Consultant in the Life Sciences Vertical Division. As
12        a Senior Consultant, I have had significant healthcare-related simulation
13        modeling experience using both the ProModel and MedModel engines. I have
14        significant experience modelling resident care and services and performing
15        DES testing on the effects of different staffing levels on the delivery of care.
16        More specifically, since 2012, I have worked with Dr. John Schnelle
17        performing extensive DES testing of staffing and activities of daily living
18        (ADLs) in nursing homes across the country. This DES testing and results
19        served as the basis for a peer-reviewed journal article entitled, “Determining
20        Nurse Aide Staffing Requirements to Provide Care Based on Resident
21        Workload: A Discrete Event Simulation Model, JAMDA 17, 970-977 (2016)
22        authored by Dr. Schnelle, myself, and others.
23              e.     Healthcare Projects:     For over 20 years, I have been either
24        principally responsible or have had a significant role in ProModel/MedModel
25        computer simulation projects across a wide range of industries and
26        applications, but with an emphasis on the healthcare industry. Using and
27        applying MedModel discrete event simulation (DES) computational software,
28        I have tested the effects of various staffing levels on the delivery of numerous
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 1         types of care, treatment, and related services in many healthcare settings,
 2         including but not limited to:
 3                     i.      170 emergency departments nationwide for Hospital
 4               Corporation of America (HCA), located in 21 U.S. states;
 5                    ii.      A large geriatric healthcare provider’s nursing homes,
 6               assisted living facilities (with a dementia care unit), and a transitional
 7               care unit in Minnesota;
 8                   iii.      Nursing homes across the United States, including facilities
 9               operated by various national chains;4
10                   iv.       Exempla Health operating rooms in Denver;
11                    v.       Baystate Health emergency rooms, call center, and primary
12               care centers, across western Massachusetts;
13                   vi.       Caremark Pharmacy;
14                   vii.      Olympus      Computational       Equipment      laboratories,
15               operating worldwide with 92 group companies in 39 countries;
16                  viii.      Carillion Health specialty office, located in Roanoke,
17               Virginia with facilities through Virginia;
18                   ix.       Fletcher Allen, now referred to as the University of
19               Vermont Medical Center is located in Burlington, Vermont;
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     4
23     I have significant experience modelling resident care and services and performing
     DES testing on the effects of different staffing levels on the delivery of that care.
24
     More specifically, since 2012, I have worked with Dr. Schnelle on this subject. To
25   date, working in conjunction with Dr. Schnelle, we have performed extensive DES
     testing of staffing and activities of daily living (ADLs) in nursing homes across the
26
     country. This DES testing and results served as the basis for a peer-reviewed journal
27   article entitled, “Determining Nurse Aide Staffing Requirements to Provide Care
     Based on Resident Workload: A Discrete Event Simulation Model, JAMDA 17, 970-
28
     977 (2016) authored by Dr. Schnelle, myself, and others.
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 1                   x.        GI Lab at Stanford University Hospital in Palo Alto,
 2               California;
 3                   xi.       Oakwood Health emergency department in Columbus,
 4               Ohio;
 5                  xii.       Evergreen Health emergency department;
 6                 xiii.       Fort Bragg, Fort Eustis, and Fort Irwin in various clinical
 7               settings;
 8                 xiv.        Middlesex, Connecticut hospital operating room;
 9                  xv.        Washington Hospital Center’s neurological specialty
10               operating room;
11                 xvi.        St. Francis of CWH’s perioperative unit;
12                 xvii.       Swedish Hospital’s operating room suites in Seattle;
13                xviii.       Basset Memorial surgery unit in New York; and
14                 xix.        Terumo Medical device manufacturing in Maryland.
15        27.    Other ProModel Engineers Involved in the Brookdale Project: In
16 addition to myself, 2 other ProModel/MedModel systems engineers, Dave Tucker
17 and Bruce Gladwin, worked on this Brookdale project. Mr. Tucker and Mr. Gladwin
18 have extensive experience in the use of DES staffing testing and failure analysis.

19        28.    Mr. Tucker has served as the Director of Lean Six Sigma Initiatives &
20 Senior Project Manager for ProModel/MedModel Corporation from October 2010 to
21 the present.5 In this capacity, Mr. Tucker has been responsible for the development
22 and execution of Lean Six Sigma-based strategies and simulation projects to achieve
23 corporate objectives for U.S. Government and healthcare, manufacturing and service
24
     5
25  From October 1999 to October 2010, Mr. Tucker worked for United Space Alliance
   (NASA Space Shuttle Project), Kennedy Space Center, Florida, in the following
26
   capacities: Lead Lean Six Sigma Master Black Belt (2010), Lean Six Sigma Master
27 Black Belt for Logistics, Materials & Supply Chain (2007-2010), Lean Six Sigma
   Black Belt/Processing & Manufacturing Project Leader (2000-2007), and Technical
28
   Training Manager (1999-2000).
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 1 industries, including the Office of Secretary of Defense, U.S. Air Force, Boeing, U.S.
 2 Navy, BAE, NASA, United Space Alliance, St. Francis Hospital, Community Health
 3 Network Hospital Surgery Center, Orlando VA Medical Center, Varian, Ethicon,
 4 Pfizer, Merck, Sodexo, CSX, BlueScope Steel, Ingalls Shipbuilding, Commercial
 5 Metals Corporation, State of Nebraska, Huntsville Utilities, and many others. In
 6 addition to serving as Senior Project Manager, Mr. Tucker’s job responsibilities
 7 include providing Discrete Event Simulation (DES) testing and failure analysis
 8 support to the ProModel Consulting Team in the following areas:
 9                    i.      Simulation Model Project management and execution,
10                   ii.      Conducting training sessions on ProModel products and
11               Lean Six Sigma training modules, and
12                  iii.      Subject Matter Expert on Lean Six Sigma methods.
13        29.    For the past 18 years, Bruce Gladwin has been employed by ProModel
14 as a systems engineer, project manager and senior consultant where he has been
15 professionally responsible for the design, testing, and operation of systems
16 engineering predictive analysis tools (DES) used in the healthcare, manufacturing,
17 pharmaceutical, and service industries to mathematically determine the amount of
18 labor and resources required to complete all work tasks, the tipping point at which

19 workload exceeds the capacity of defined numbers of workers (staff) to complete all
20 work task, and the amount of work that is possible (or impossible) given the workload
21 and defined staffing levels or resources. Mr. Gladwin is a Certified Six Sigma Black
22 Belt, having acquired this training and certification while employed as an internal
23 simulation consultant for General Electric Power Systems Division in 2001-2003. He
24 routinely uses Six Sigma Quality methods to perform simulation-based capacity and
25 staffing analyses for ProModel customers.
26        30.    Mr. Tucker and Mr. Gladwin assisted in quality assurance of the
27 Brookdale DES testing and failure analysis. More specifically, they performed the
28 standard, internal ProModel processes for quality assurance checking of models,
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 1 including verification and validation of the logic code, data inputs, model elements,
 2 structure, process operations, operations sequencing, process flow, and outputs to
 3 ensure reliability/accuracy of this Brookdale-specific DES testing and failure
 4 analysis. Further, as part of this quality assurance process, Mr. Tucker and Mr.
 5 Gladwin applied Lean Six Sigma methods to ensure reliability/accuracy of this
 6 Brookdale-specific DES testing and failure analysis.
 7                      IV.    SUMMARY OF KEY FINDINGS
 8        31.   Extensive DES testing and failure analysis conducted by MedModel of
 9 6 Brookdale facilities reveals:
10              a.     The selected facilities were systemically and significantly
11        understaffed (paragraphs 84-92 below),
12              b.     On average, the selected facilities omitted 41.5% of the care time
13        required to deliver resident care (paragraph 91 below), and
14              c.     Brookdale’s staffing methodology does not account for the actual
15        distances and amount of time staff are required to travel within its facilities
16        each day to deliver care, which on average requires 18.9% of the time in a work
17        day (paragraph 90 below).
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 1   V.     OVERVIEW: THE BASIS FOR MEDMODEL’S DES TESTING AND
 2
                FAILURE ANALYSIS OF BROOKDALE FACILITIES

 3         32.     The DES testing, failure analysis, and opinions stated herein are based
 4 on the data and objectively verifiable facts that can be organized into 4 distinct
 5 domains of information:
 6                 a.    Brookdale Facility-Specific Raw Data and Floor Plans (for the
 7         Selected Facilities),
 8                 b.    Summaries of Voluminous Brookdale Facility-Specific Raw
 9         Data,
10                 c.    Brookdale Policy and Practice Documents, and
11                 d.    General Inputs and Programming Logic.
12 These domains are specifically described below.
13               VI.    BROOKDALE FACILITY-SPECIFIC RAW DATA
14                               AND FLOOR PLANS

15         33.     Brookdale Facility-Specific Raw Data and Floor Plans (for 6
16 Selected California Facilities): I was provided Brookdale Facility-Specific Raw
17 Data and Floor Plans for the below 6 Brookdale California facilities and their
18
     corresponding 3-year timeframes:
19                 a.    Irvine: 1/1/2017 to 12/31/2019,
20                 b.    North Euclid: 1/1/2017 to 12/31/2019,
21                 c.    Scotts Valley: 1/1/2017 to 12/31/2019,
22                 d.    Anaheim: 1/1/2017 to 12/31/2019,
23                 e.    Brookhurst: 1/1/2017 to 12/31/2019, and
24                 f.    Mirage Inn: 1/1/2017 to 12/31/2019.
25 The first 3 facilities listed only have Assisted Living units (no Memory Care Units).
26 The last 3 facilities have both Assisted Living and Memory Care units.
27
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 1          34.    This Brookdale Facility-Specific Raw Data included:
 2                 a.     Raw Resident Assessment Data for the Selected Brookdale
 3          Facilities: The Brookdale raw resident assessment data for each resident at
 4          each of the 6 Brookdale California facilities and their corresponding 3-year
 5          timeframes is identified by facility and Bates number. See BKD1299857
 6          though BKD1299846. This raw resident assessment data specifically details
 7          for each resident every line-item type of care or service determined by
 8          Brookdale to require assistance from Brookdale staff from the effective date
 9          of the assessment until the next assessment or a move-out or absence.
10

11

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15                 b.     Raw Resident Move-Out/Absence Data for the Selected
16          Brookdale Facilities:     It is my understanding that Plaintiffs in this case
17          requested that Brookdale produce (a) the dates that any resident of a Brookdale
18          California facility moved-out of a facility and (b) all dates that any resident
19          was absent from a facility. For residents at each of the 6 Brookdale California
20          facilities and their corresponding 3-year timeframes, I was provided raw data
21          from Brookdale the specific dates when residents moved-out and were absent.6
22          This raw move-out/absence from facility data is identified by facility and Bates
23          number. See BKD1820457. Per calendar day lists of every line-item care
24          service required by each resident in each facility can be created based on (a)
25          either the date each resident moved-in or the effective date of the assessment
26

27   6
         As discussed below, it is my understanding that Brookdale has not produced
28 complete move-out data for every resident who moved-out.
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 1        and (b) the date the resident moved-out and/or was absent from the facility. In
 2        essence, this data not only identifies which residents are “in the building” on
 3        each day of the 3-year timeframes but also identifies which assessment was
 4        active on each calendar day.
 5               c.     Raw Census Data for the Selected Brookdale Facilities: It is my
 6        understanding that Brookdale produced Labor Detail Reports that showed the
 7        daily total census (count of residents) in each of the 6 facilities. See
 8        BKD2874675 through BKD2874760_Confidential.
 9

10

11                    The total resident census per day at each of the 6 facilities, as well
12        as the specific census levels on the assisted living unit and the memory care
13        units, can be derived from a daily count of active resident assessments (based
14        on move-in/move out data).
15               d.     Raw Punch-Detail Staffing Data for the Selected Brookdale
16        Facilities: The raw punch-detail daily staffing data, including time clock-
17        based, punch-in/out details for every staff member (identified by a unique
18        employee identification number) in these facilities is identified by facility and
19        Bates number. See BKD1384958 through BKD1384975_Confidential.
20

21

22

23        35.    Floor Plans: Additionally, for each of the 6 Brookdale facilities, I was
24 provided the floor plans produced by Brookdale, a simplified line drawing of same,

25 and    Google Earth measurements of each of the facilities. See Floor
26 Plans/Measurements, MEDMODEL0003. Each facility floor plan was reduced to an

27 accurate, to-scale simple line drawing using Adobe Illustrator, retaining the resident

28 rooms, room numbers (when available), and key locations (such as dining rooms,
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 1 elevators, and stairs). Further, because the MedModel simulation allows the floor
 2 plan to be scaled to account for actual distances staff were required to travel in each
 3 building, overall facility dimensions were determined using the Google Earth
 4 measurement tool of aerial photographs of each facility. Based on my experience,
 5 measurements from Google Earth provide a valid means of determining distances
 6 within floor plans with reasonable accuracy. Within the MedModel software, the
 7 floor plan allows the actual distances that staff travel in a facility to be measured.
 8 Each facility’s floor plan was inputted to the simulation through a defined path array
 9 in the source code. This path array or “path network” depicts the actual travel paths
10 utilized by staff to travel from one room to another and to various locations within
11 the facility. The shortest distance between two points is always utilized by staff, for

12 purposes of the path array within the model. Because resident room numbers were
13 not available within the raw resident assessment data produced, the DES model
14 populates each floorplan with residents based on their AL or MC designation.
15 Because resident room numbers were not available within the raw resident
16 assessment data produced that would indicate whether rooms were shared or
17 occupied individually, all residents are placed two to a room, with a balancing of
18 residents on each floor, in order to create the most conservative placement possible

19 in terms of staff travel distances and staff assignments. These floorplans and
20 measurements constitute objectively verifiable inputs to the MedModel software.
21         VII. SUMMARIES OF VOLUMINOUS FACILITY-SPECIFIC
22
          RAW DATA FOR THE SELECTED BROOKDALE FACILITIES

23        36.    Summaries of Voluminous Facility-Specific Raw Data for the
24 Selected Brookdale Facilities: With respect to the voluminous raw data described
25 above, I was provided per day summaries for each of the 6 facilities that included: (a)
26 line-item listings of care services (per resident) which derived from the raw resident
27 assessment data, (b) specific resident census data for each entire facility, as well as
28
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 1 census broken down by unit (i.e., assisted living unit or memory care unit7), and (c)

 2 facility staffing hours calculated on an hours per resident per day and per shift basis

 3 (discussed below). These daily summaries contain the same kind of “facility-specific

 4 data inputs” that are generally used by ProModel/MedModel to conduct staffing

 5 analysis.

 6           37.    Summary of Daily Line-Item Care Services Per Resident: I was
 7 provided summaries containing the daily line-item care services that were required

 8 by each resident residing on the Assisted Living unit or, where applicable, the

 9 Memory Care unit. See Facility Inputs, MEDMODEL0004-9. Separate columns in

10 these Facility Inputs—beginning in column AF and continuing to the columns to the

11 right—include on a per resident basis the lists of all required care services on a given

12 day, identified by a unique service code number.

13           38.    It is my understanding that subject matter expert Dr. Flores reviewed the
14 universe of raw assessment data that Brookdale produced for all residents in the 6

15 Brookdale facilities in order to identify each unique resident service task that requires

16 staff time to perform. Each unique task was assigned a service code number. For

17 example, residents in all 6 facilities who required toileting with physical assist by one

18 person were assigned a service code number of               for this specific care, whereas
19 residents requiring toileting with physical assist of 2 persons were assigned a service
20 code number of           . In total, Dr. Flores determined there were 95 possible unique
21 resident service tasks within the assessment data that Brookdale produced for the 6

22 facilities. Computer analysis was then performed of the universe of resident

23 assessment data by Mr. Blake Peters, Data Analytics, to (1) determine each unique

24 line-item service required by each resident, (2) verify that these 95 unique identified

25 services capture 100% of all care required by the resident populations in the 6

26

27   7
         Brookdale uses the term Memory Care (MC) to refer to the distinct section of the
28 facility housing and providing care to memory care residents.
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 1 facilities. This voluminous assessment data was compiled and summarized by Mr.

 2 Peters for each of the 6 facilities on a per resident per day basis.

 3        39.    More specifically, as part of the Facility-Specific Data Inputs described
 4 above, Mr. Peters applied this set of 95 possible service codes to each resident

 5 assessment and created daily line-item listings of every service (by service code)

 6 required by every resident at each of the 6 Brookdale facilities throughout their 3-

 7 year timeframes. The per day list of unique service code numbers required by each

 8 resident functions as an objectively verifiable, machine-readable proxy to the actual

 9 care requirements listed in each of the resident’s assessment. These daily listings of

10 care needs by service code allow MedModel to look-up information about each task

11 to be performed for each resident in each room, schedule each task to occur during

12 the day, assign it to be performed by the correct primary care provider, and identify

13 how much time is required to perform it. In this manner, the line-item listing of

14 service codes work together with the Service Code Key information to drive the

15 activities of staff over the floorplan and over time within the model.

16        40.    Summary of Daily Resident Census: I was provided the daily census
17 for the AL units and, where applicable, the daily census for the MC units based on

18 the active resident assessments for each of the 6 facilities.          See Facility Inputs,
19 MEDMODEL0004-9, column F (AL census) and column S (MC census).
20        41.    As previously noted, the
21

22                            The total census, as well as the per unit census, can be
23 independently determined from the Brookdale active resident assessment data and

24 move-out/absence data. A comparison, however, of the daily census numbers from

25 these 2 sources revealed the per day total census did not always match. Many of the

26 daily total census numbers obtained from the Brookdale Labor Detail Reports are

27 inconsistent with and conflict with the daily total census numbers derived from the

28 Brookdale active resident assessments and move-out/absence dates. As a result, on
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 1 certain days, a significant number of resident assessments were missing, resulting in
 2 a reduction in workload (i.e., a reduction in the line-item care services required to be
 3 performed by staff).8
 4            42.   MedModel conducted “best case”9 DES testing and failure analysis for
 5 days when complete or substantially complete data was produced by Brookdale.
 6 Complete or substantially complete data was defined to include specific days where
 7 (1) the census numbers from these Labor Detail Reports matched the census numbers
 8 derived from active resident assessments or (2) where a comparison of the census
 9 numbers derived from active resident assessments and the census in the Labor Detail
10 reports show that from 1 to 5 resident assessments were missing on these days.10
11 Specific days where more than 5 assessments were missing or where the census

12 derived from active resident assessments exceeded the census from the Labor Detail
13 Reports were excluded from the “best case” DES testing and failure analysis. See
14 Flores Declaration, specifically the subsection entitled “Daily Counts of Line-Item
15 Services Where Census Levels Based on Assessments and Labor Detail Variance
16 Data Do Not Match,” paragraphs 41 through 44 and included Tables 1 and 2.
17
18

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     8
20  Also, a comparison of the census reported in the Labor Detail Reports and the census
   derived from active resident assessments revealed that on certain days the number of
21 active assessments exceeded the census reported in the Labor Detail Reports. See
22 Flores Declaration, paragraphs 41 through 44.
     9
23   “Best case” analysis is defined below and includes the most care possible based on
   a combination of critical factors impacting the delivery of care—see paragraphs 82-
24
   83 below.
25
     10
          The effect of missing 1 to 5 resident assessments on any day analyzed is that the
26 workload is reduced, the line-item care services count is reduced, and the required
27 hours of staff time needed to deliver line-item services is reduced. Accordingly, on
     days where resident assessments are missing, MedModel’s DES testing and analysis
28 is conservative.
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 1        43.    Summary of the Hours of Brookdale Staffing Per Day and Shift:
 2 Further, I was provided summaries of the Brookdale staffing hours, calculated on a
 3 per patient day11 (and per-shift) basis for designated “caregiver” staff. The summaries
 4 of daily and per shift caregiver staffing hours per patient are contained in Facility
 5 Inputs, MEDMODEL0004-9, columns G though R (AL Unit) and columns T through
 6 AE (MC unit). More specifically, these per patient day staffing summaries were
 7 computed by:
 8               a.     Compiling and calculating the to-the-minute hours of staff time
 9        (as documented in the raw Brookdale punch detail staffing records) for each
10        day and work shift during the 3 year period for each facility and
11               b.     Dividing the total hours of staff time per shift by the
12        corresponding census count (the number of residents) on each day and every
13        shift during the 3-year period for each facility.12
14        44.    The above computations result in a staffing measurement known as
15 hours per patient per day and per shift (HrsPPD and HrsPPS). Hours per patient per
16 day (and per shift) is a staffing measurement widely-used across the healthcare
17 industry to understand the average amount of staff resources/time that are allotted on
18 a per resident basis. This measurement shows how much staff time on average is

19 available to deliver care and services to each resident.
20        45.    Caregiver Hours Per Patient Day: It is my understanding that the line-
21 item care services documented in resident assessments are delivered by 4 types of
22
23
24
25   11
      The terms per patient day and per resident day are used interchangeably within this
26 Declaration and are intended to have the same meaning.
   12
27    For example, if there are 125 total hours of Care Manager time for the day, evening,
   and night shifts on January 2, 2018, and 100 residents on that day, the HrsPPD would
28 be 1.25 (125 hours divided by 100 residents = 1.25 HrsPPD).
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 1 Brookdale staff: (1) Care Managers,13 (2) Medtechs,14 (3) LPNs,15 and (4) Care

 2 Directors (Supervisors).16 The staffing hours per patient per shift worked by every

 3 variety of these 4 types of staff are summarized in the Facility Inputs,

 4 MEDMODEL0004-9, columns G though R (AL Unit) and columns T through AE

 5 (MC unit).

 6        46.    My understanding that the above 4 defined types of staff deliver the line-
 7 item care services documented in resident assessments is based on subject matter

 8 expert Dr. Flores’s input, including her review of the Labor Detail Report’s

 9 designation of the clinical department staff and Brookdale job descriptions. To the

10 extent that Brookdale provides evidence that other job titles provided assistance with

11 the line-items care services and can quantify the number of hours of assistance

12 provided by “non-clinical” or other staff, MedModel can test and analyze the impact

13 of any such additional staffing on the delivery of line-item care.

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 1        47.    Quality Assurance Review of All Summaries of Voluminous
 2 Records: The summaries of voluminous raw data described within this section were

 3 compiled under the direction of Dr. Flores and provided to MedModel by Mr. Peters,

 4 Data Analytics. I have worked with Dr. Flores and Mr. Peters on several projects. As

 5 in prior projects, MedModel provided instructions to Mr. Peters with respect to the

 6 analysis of the raw Brookdale data and the specific formatting of the summarized

 7 data—all of which were followed in this case. The summary data provided by Mr.

 8 Peters is of the kind and type of data that ProModel/MedModel regularly uses and

 9 relies upon to conduct DES staff testing and failure analysis. MedModel has been

10 provided this same type of data from Mr. Peters in the past and has found it to be

11 reliable and accurate. Based on my prior work with Mr. Peters in this and other cases,

12 I know that he has the required expertise, training, education, and tools necessary to

13 create accurate summaries of voluminous data using standard SAS programming.

14        48.    I further understand that Mr. Peters has performed standard internal
15 database checks to ensure that the above-described summaries of voluminous raw

16 data are accurate and reliable. I have also reviewed, tested, and confirmed that these

17 summaries are accurate and reliable. These summaries serve as an objectively

18 verifiable basis for my findings and opinions contained in this Declaration.

19         VIII. BROOKDALE POLICY AND PRACTICE DOCUMENTS
20        49.    Brookdale Policy and Practice Documents: I was provided Brookdale
21 policy and practice documents that include:

22               a.    Brookdale’s Personal Service Assessment and Personal Service
23        Plan Interpretive Guidelines, dated July 2018,
24                                          (BKD0005133-5158);
25               b.    Brookdale’s “Using the Personal Service System (PSS) Online—
26        Quick Reference Guide” (BKD0005118-5131);
27

28
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 1                   c.     Sample of completed Brookdale PSA/PSP Q&A Assessment
 2           form (used for prospective assisted living residents) that lists the services to be
 3           provided to residents for a fee (BKD1152669);
 4                   d.     Brookdale Acuity Minutes Norms spreadsheet (including both
 5           AL and MC information),
 6

 7                                                              (BKD2874663);
 8                   e.     Brookdale Clinical Time Studies spreadsheets
 9                                                                        (BKD2886744 and
10           BKD2886745);
11                   f.     Brookdale’s “Deep Dive Follow-Up Review of Current RSW17
12           Time Standards” document dated October 18, 2011,
13

14

15                               (BKD2882807); and
16                   g.     Brookdale’s community-specific spreadsheets that show how
17

18                         that generally result in less staff time being available to provide
19           line-item services (BKD2874670 though BKD2874674).
20                 IX.    GENERAL INPUTS AND PROGRAMMING LOGIC
21           50.     As generally described in my prior Declaration, in addition to the above-
22 described facility-specific data needed, MedModel requires general inputs and

23

24

25

26   17
          According to this Brookdale Deep Dive Follow-Up document,
27

28
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 1 programming logic to perform DES testing and failures analysis.18 The function of

 2 each of these general inputs and programming logic within the model is described

 3 below.

 4        51.     Task Time Data for Each Care Service Task: For purposes of the
 5 DES testing conducted in this case, MedModel used the task times set forth in Global

 6 Expert Inputs, MEDMODEL0010, Input Key for Assessed Services tab, columns G

 7 and H—AL Task Times and MC Task Times. These task times were provided by

 8 subject matter expert Dr. Flores (see Flores Declaration, paragraphs 49-52). It is my

 9 understanding that Dr. Flores used Brookdale's own task time information whenever

10 available which derived from (1)

11 (BKD2874663)        and (2)
12 (BKD2886744 and BKD2886745). To the extent that no task time data was defined

13 by                                                                         for a line-item
14 service, it is my understanding that Dr. Flores provided a reasonable task time for

15 such line-item services based on: (a) the task times used by other California ALF

16 chains, (b) peer-reviewed literature, and (c) Dr. Flores’ experience and expert opinion

17 as to what constituted a reasonable task time for the particular care service.

18        52.     Triangular Task Time Distributions: Rarely in the real world does a
19 care task require precisely the same amount of time to perform. System engineers
20 understand that task time variation must be accounted for in analyzing staff

21 sufficiency in any work system. Rather than using a single average task time for each

22 task, system engineers commonly use generally-accepted triangular probability

23 distributions to account for and test the impact of task time variation. A triangular

24

25

26   18
     The general inputs and logic discussed in this section are the same kind of general
27 inputs and logic used by ProModel/MedModel to test workload and staffing in the
   U.S. military, leading manufacturing and service companies, and healthcare
28 institutions across the country.
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 1 distribution provides a continuous probability distribution for a range of data points
 2 (in this case task time values).
 3           53.    Within the field of systems engineering and DES testing, triangular
 4 distributions are a standard and commonly-used distribution expression to test the
 5 impact of task time variation and to represent task time probability distributions that
 6 must be estimated due to data unavailability.19 A triangular distribution consists of 3
 7 parameters: the minimum, mode, and maximum values of a data set. For example,
 8 T(5, 10, 15) where 5 is the minimum, 10 is the mode, and 15 is the maximum value
 9 in a data set. In the case of task times, the minimum and maximum parameters
10 represent the range over which the task time varies with the most often occurring task
11 time value being the mode. When each of these data points are plotted, the shape of

12 the triangular distribution curve is defined by a minimum value along with its
13 probability, a maximum value, along with its probability, and a mode value (i.e., the
14 most often occurring value), along with its probability.
15           54.    In the case of Brookdale, a series of triangular probability distributions
16 (containing different minimum, mode, and maximum time values)20 were used to test
17 the impact of task time variation on the delivery of care services.21 MedModel’s built-
18 in random number generator and distribution fitting algorithms are used to randomly

19 select a value within these triangular distributions, based on the minimum, mode, and
20
21
     19
      See: A. M. Law (2007), Simulation Modeling and Analysis, Fourth Edition,
22
   McGraw Hill, p. 300; Jerry Banks, et al. (2010), Discrete-Event System Simulation,
23 Fifth Edition, Prentice Hall, p. 183; and Charles Harrell, et al. (2004), Simulation
   using ProModel, Third edition, McGraw Hill, p. 140.
24
     20
          The minimum, mode, and max times were calculated from Brookdale’s own task
25 times when the same were available and, when not available, from task times (a)
26 used by other California ALF chains, (b) found in peer-reviewed literature, and (c)
     determined to be reasonable by Dr. Flores, in accordance with accepted industrial
27 engineering practices.
28   21
          See Table of DES Testing, MEDMODEL0011, column J.
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 1 maximum time values in order to produce scientifically valid and reasonable task
 2 time variation.22 The task times and triangular distributions derived for and used in
 3 the Brookdale DES testing and failure analysis are valid, reasonable, and consistent
 4 with modeling guidelines (found in almost any simulation modeling textbook),
 5 general Lean Six Sigma principles, and statistical guidelines. Further, the method by
 6 which MedModel created triangular task time distributions for the Brookdale case is
 7 the same method that ProModel/MedModel uses to create triangular task time
 8 distributions for the U.S. military, leading manufacturing and service companies, and
 9 healthcare institutions across the country.23
10            55.   Task Frequency Data for Each Care Service Task: In order to
11 determine the total number of each type of line-item service required on a per day

12 basis, the per day frequency of each task must be defined. For example, since meals
13 occur 3 times a day, residents who are assessed as needing feeding assistance receive
14 this assistance 3 times a day (breakfast, lunch, and dinner). The frequency of each
15 line-item care task is based on Brookdale resident assessments, Watermark care task
16 frequencies, industry data obtained from other ALF chains operating in California,
17 authoritative literature, and subject matter expert Dr. Flores’ review of this frequency
18 data for reasonableness. See Global Expert Input spreadsheet, MEDMODEL0010,

19 Input Key for Assessed Services tab, columns K and L.
20            56.   Non-Direct Care/Administrative Staff Activities that Reduce Staff
21 Time to Deliver Line-Item Services: Staff in every healthcare facility, including
22 Brookdale facilities, must perform certain activities that reduce available time for
23 providing direct care services to residents. For example, staff do not provide direct
24
25   22
          See discussion of MedModel random number generator and test replications below.
26   23
     Further, it is a common and acceptable practice in simulation modeling to increase
27 or decrease the parameters (minimum and maximum range) of a triangular
   distribution when running scenarios to test the impacts of changes to those
28 expressions, as was done in this case.
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 1 care to residents while taking meal breaks or paid breaks. Consequently, staff who
 2 work a full 8-hour shift do not have a full 8 hours to deliver care. The Brookdale staff
 3 activities that reduce available time for delivery of the line-item assessed care
 4 services include: (1) meals breaks, (2) paid 10-minute breaks, (3) change of shift
 5 reports, (4) customer service requests (i.e., responding to pendant request), (5)
 6 incident/accident/emergency response and reports, (6) controlled substance counts,
 7 and (7) medication administration record audits (collectively referred to as non-direct
 8 care/administrative staff activities). The Brookdale DES testing and failure analysis
 9 schedules these non-direct care/administrative staff activities and reduces the amount
10 of time available to staff (to deliver line-item care services) accordingly. The 7 non-
11 direct care/administrative activities, their task times, their frequencies, and the job

12 type/discipline who performs each of them are based upon Brookdale’s Clinical Time
13 Studies (BKD2886744), other ALF industry data, California Labor Code related to
14 paid 10-minute breaks, and subject matter expert Dr. Flores’ determination of
15 reasonable frequencies. See Global Expert Input spreadsheet, MEDMODEL0010,
16 Inputs re Staff Availability tab, which includes a list of the non-direct
17 care/administrative staff activities and sources.
18        57.    Schedules of Care Services and Non-Direct Care/Administrative
19 Staff Activities: As to both the 95 possible line-item resident care service tasks and
20 the 7 non-direct care/administrative staff activities, subject matter expert Dr. Flores
21 provided MedModel with initial schedules listing on what days and what time each
22 task should reasonably occur. Dr. Flores’ schedules for line-item care service and
23 non-direct care/administrative staff activities were initially used in MedModel’s
24 testing and analysis for purposes of determining the order in which and the specific
25 time(s) that these services were to occur each day. As part of the comprehensive DES
26 testing and analysis conducted, MedModel subsequently determined the most
27 efficient schedules (i.e., the schedules that allowed the most work to be done), by
28 modifying Dr. Flores’s initial schedules and randomly increasing and /or decreasing
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 1 the specific time each task was scheduled to occur (by up to +/- 2 hours for line-item
 2 care services and up to +/- 1 hour for the non-direct care/administrative staff
 3 activities). In other words, MedModel tested and determined the line-item care
 4 service and non-direct care/administrative staff activities schedules that allowed the
 5 most work to be accomplished. These schedules that allowed the most resident care
 6 service tasks and non-direct care/administrative staff activities to be performed were
 7 used in the “best case” scenarios. See Table of DES Testing, MEDMODEL011, Test
 8 Series 14C and 16Q for “best case” schedules.
 9        58.    Bundling of Services: Certain care services can be grouped together
10 and provided sequentially or simultaneously to a resident or residents. When this
11 occurs, these services are considered to be “bundled.” Subject matter expert Dr.

12 Flores provided me with instructions as to which care services should be bundled and
13 how, either through time reductions, removal, or pairing of tasks. This bundling
14 information is included within Global Expert Input spreadsheet, MEDMODEL0010,
15 Input Key for Assessed Services tab, column F.
16        59.    Behavioral Interventions: According to the assessment data, certain
17 Brookdale residents exhibited behaviors requiring staff intervention. The service
18 code key allows MedModel to determine which residents require these behavioral

19 interventions. Subject matter expert Dr. Flores provided MedModel with instructions
20 as to how the line-item behavioral interventions by staff should occur within the logic
21 of the DES analysis (randomly and paired with ADL care). This behavioral
22 intervention information is included within Global Expert Input spreadsheet,
23 MEDMODEL0010, Input Key for Assessed Services tab, column I; and Staff Codes
24 tab, columns C and D. In order to examine the effect of behavioral interventions on
25 the delivery of care, as part of the MedModel DES testing, these behavioral
26
27
28
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 1 interventions were tested (1) at scheduled (non-random) times, (2) deleted entirely
 2 from the testing, and (3) in accordance with Dr. Flores’ instructions.24
 3           60.   Priorities of Care: Within the MedModel software, each task is given
 4 a simple “priority” ranking. In simple terms, the priority dictates which task should
 5 be done first when a staff member is confronted with 2 different tasks at the same
 6 time (i.e. which task has “priority”). Subject matter expert Dr. Flores provided
 7 priority inputs which were used in the MedModel analysis. See Global Expert Input
 8 spreadsheet, MEDMODEL0010, column AI of Input Key for Assessed Services tab,
 9 and column S of Inputs re Staff Availability tab. Feeding assistance, toileting
10 assistance, and medication tasks were all given higher priority than the other line-
11 item service tasks. In order to examine the effect of care priorities on the delivery of

12 care, as part of the MedModel DES testing, the care priorities were changed and the
13 impact analyzed.25
14           61.   Care Windows: A care window is the time frame in which a care service
15 or non-direct care/administrative staff activity is required to be performed within the
16 DES testing and failure analysis. If the task is not performed within the care window,
17 it is deemed to be omitted. When a resident has to wait for care or service for so long
18 that the delay exceeds the acceptable “care window,” that task is deemed to be

19 omitted. For example, if breakfast is scheduled for 8:00 a.m. but not provided before
20 2:00 p.m., the care window has been exceeded and the task is counted by the model
21 as omitted. Subject matter expert Dr. Flores defined these care windows. See Global
22 Expert Input spreadsheet, MEDMODEL0010, column AH of Input Key for Assessed
23 Services tab and column R of Inputs re Staff Availability tab. It is my understanding
24 that each of these care windows are based on Dr. Flores’ experience and knowledge
25
26
27   24
          See Table of DES Testing, MEDMODEL0011, Test Series 3C and 15A.
28   25
          See Table of DES Testing, MEDMODEL0011,Test Series 9A through 9F.
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 1 of what constitutes a reasonable and acceptable window of time to deliver the
 2 identified care service.26
 3            62.   Staff Travel Speed: The MedModel computational analysis of
 4 Brookdale’ staffing uses a travel speed for all staff members of 264 feet per minute.27
 5 As previously discussed, the actual distances that staff must travel in order to deliver
 6 line-item care services or perform non-direct care/administrative staff activities are a
 7 function of the facility floorplan’s measurements, the location of residents, and the
 8 places in the building where staff and/or residents must travel (e.g., the dining
 9 room).28 This travel speed accounts for burdened and unburdened travel by staff
10 throughout the day within the building. Burdened travel means a staff member is
11 escorting or transporting a resident (pushing resident in wheelchair or assisting an

12 unsteady resident with walking), pushing a supply cart, or transporting equipment
13 (Hoyer lift). As part of the DES testing conducted in this case, MedModel analyzed
14 numerous staff travel speeds and the impact these different travel speeds had on the
15 amount of care that could be delivered.29 This input of the model is included in the
16 Global Expert Input spreadsheet, MEDMODEL0010, Scenario Parameters tab, line
17 3.
18
     26
19   As part of the MedModel DES analysis conducted in this case, the impact of the
   care windows (provided by Dr. Flores) on the amount of care that could be delivered
20 by Brookdale’s staff were tested by increasing or decreasing them. See Table of DES
21 Testing, MEDMODEL0010, Test Series 9E, 9F, 13A through 13H.
22   Note that a slower travel speed of 175 feet per minute is supported by human
     27

   factors research. See ISO 11228-1-2003(E) (referring to .5 m/s to 1 m/s [98 fpm to
23
   197 fpm]).
24
     28
          Because the assessment data did not provide room numbers for each resident, in
25 order to reduce the travel distances and the amount of staff travel time, 2 residents
26 were placed per resident room within the floorplans analyzed. As a consequence,
     both the staff travel distances and the amount of staff travel time calculated by the
27 MedModel DES testing and analysis are conservative.
28   29
          See Table of DES Testing, MEDMODEL0011,Test Series 7A through 7D.
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 1        63.    Built-in MedModel Random Number Generator: The MedModel
 2 DES computational software includes a built-in random number generator that is used
 3 to test the effect that variation in general inputs has on care delivery. More
 4 specifically, the random number generator is used: (1) to randomly generate specific
 5 time values defined by the triangular task time distributions and distribution
 6 probabilities, (2) to randomly schedule occurrences of behavioral interventions, (3)
 7 to randomly determine which care service is performed first when 2 residents require
 8 the same care service at the same time, and (4) to randomly select the order in which
 9 resident care begins first which impacts travel.
10        64.    The use of a random number generator to create variability is a standard,
11 well-accepted methodology within the field of system engineering and industrial

12 modelling used to replicate real-world variability and to quantify its consequences.
13 Unlike a simple calculator, MedModel DES testing is performed multiple times for
14 every scenario in order (1) to generate a range of results caused by variability, (2) to
15 measure how much the results differ for multiple tests performed on a single scenario,
16 and (3) to scientifically determine the average effect of the variation (i.e., average
17 result). These multiple tests performed on a single scenario are called “replications.”
18        65.    The random number generator logic used in the Brookdale case allowed
19 MedModel to perform thousands of tests of various work scenarios to quantify the
20 impact of the variability described above on the capacity of staff to deliver care. More
21 specifically, as described below, MedModel performed 50 test replications per day
22 for each work scenario for each of the 6 Brookdale facilities. These replications
23 allowed MedModel to examine the effects of variation and were part of the steps
24 taken to ensure that the DES model was properly calibrated and functioning correctly.
25
26
27
28
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 1       X.     VALIDATION AND CALIBRATION OF MEDMODEL DES
 2
                 TESTING AND FAILURE ANALYSIS OF BROOKDALE
                                 FACILITIES
 3
 4        66.    Validation: The MedModel ALF staffing DES performed in this case
 5 has undergone a significant amount of back validation, testing, and calibration.
 6 Numerous validation techniques were utilized, including internal validity checks,
 7 facial validity checks, extreme condition checks, parameter variability-sensitivity
 8 analysis, animation checks, trace techniques, and comparison to other models.
 9 Importantly, the DES for each of the 6 Brookdale facilities has been tested to ensure
10 internally consistency/internal validity. For example, increasing or decreasing the
11 census or the workload in the models for the 6 Brookdale facilities results in omitted

12 care increasing or decreasing appropriately and as expected in response to these
13 changes. Model runs were visually observed and checked to determine if anything
14 appeared out of sequence or incorrect in how the model functioned. Further,
15 MedModel traced the detailed resident activity and staff activity logs created as part
16 of the DES analysis of the 6 Brookdale facilities. These resident activity and staff
17 activity logs document every activity occurring within the model and when
18 specifically they occur. The review of these logs confirmed that the simulation

19 faithfully reproduced and accurately modelled the operation of these facilities based
20 on the inputs I received.
21        67.    Controlled Test Simulations to Confirm Proper Calibration and
22 Proper Working Order: The simulations for the selected Brookdale facilities have
23 been run with a variety of combinations of census, workload and staffing PPDs to
24 test and ensure that they were properly calibrated and functioning correctly.
25 Additionally, the resident and staff activity logs were analyzed in conjunction with
26 the results and statistics to ensure that the simulation was operating correctly. All
27 inputs were verified and correct. This review confirmed the proper calibration and
28
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 1 functioning of the simulation. Further, we confirmed that the computer on which the
 2 simulation was run was functioning normally.
 3        68.    Simulation Warm-up, Run Period, and Replications: Three
 4 parameters control the number of times that the simulation runs for a given set of
 5 inputs: the Warm-up Period, the Run Period, and the Replications (see random
 6 number generator discussion above).
 7               a.    The Warm-up Period is the number of days the simulation is run
 8        from a cold start with all of the simulation queues being empty to realistic
 9        operating conditions with stabilized output. Realistic conditions include tasks
10        that are scheduled for third shift, but carry over to the following first shift.
11               b.    The Run Period is the number of days the simulation runs and
12        tracks data after the Warm-up Period. For the Brookdale ALF analyses, the run
13        period was set to daily.
14               c.    The number of replications run is designed to account for random
15        variations that occur from one replication to another (see random number
16        generator discussion above). As to MedModel DES testing and failure analysis
17        of the 6 selected Brookdale facilities, 50 test replications were performed for
18        each Test Scenario per day to ensure reliable results and proper functioning.
19        69.    Quality Assurance Process: I and members of ProModel’s engineering
20 team (Mr. Tucker and Mr. Gladwin) have performed the standard, internal ProModel
21 processes for quality assurance checking of models, including verification and
22 validation of the logic code, data inputs, model elements, structure, process
23 operations,   operations sequencing, process flow, and outputs to ensure
24 reliability/accuracy of this Brookdale-specific DES testing and failure analysis.
25 Further, as part of this quality assurance process, we applied Lean Six Sigma methods
26 to ensure reliability/accuracy of this Brookdale-specific DES testing and failure
27 analysis.
28
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 1         70.   Proper Storage of Simulation Data: All DES inputs are properly
 2 stored so as to remain accurate, complete, and available for review. Further, when
 3 DES testing occurs, MedModel automatically and properly generates and stores a
 4 variety of statistical data.
 5         71.   Software: The DES testing and failure analysis performed in this case
 6 used the commercially available MedModel software. This simulation engine and
 7 software has been used since 2000 on thousands of different healthcare projects and
 8 has (1) performed properly and accurately and (2) its results have been generally
 9 accepted in the field of engineering and routinely relied upon by systems engineers
10 and simulation engineers.
11         72.   Proper Functioning and Competency: The DES testing in this case
12 has been performed on computers and virtual computers in the cloud capable of
13 running MedModel correctly. The computers on which this DES testing has been run
14 were inspected and confirmed to meet or exceed the required minimum specifications
15 of the MedModel program. I confirmed that the computers worked properly before,
16 during, and after the testing was performed. The DES analysis at issue was performed
17 by personnel within MedModel, all of whom are competent and qualified to operate
18 the computer and to run the DES testing.          All DES testing was performed by
19 competent individuals under the supervision of MedModel.
20         73.   Error Rate: As the logic of a staffing-based DES is simpler than other
21 types of computer simulations, the known error rate for the MedModel platform is
22 significantly reduced and statistically insignificant. The known error rate for the
23 MedModel engine is statistically insignificant and on the order of 1 in 10 to the 59th
24 power. The random number generator used by MedModel has been tested and
25 reliably produces a random number for the DES testing.
26         74.   General Acceptance Within the Scientific Community: The
27 ProModel/MedModel engineering analytic tool and computational software (DES)
28 that was used for purposes of analyzing Brookdale’s workload and staffing in this
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 1 case is taught in engineering schools throughout the country and is used and relied
 2 upon by the U.S. military, manufacturing and service industries, and healthcare
 3 institutions across the United States to test and determine if (a) it is mathematically
 4 and physically possible for the number of workers scheduled on a job to handle the
 5 assigned workload (i.e. complete every task required to be performed) and (b) what
 6 quantity of work can and cannot be performed when different numbers of workers
 7 (or resources) are allocated to a job.
 8        75.    The ProModel/MedModel engineering analytic tool and computational
 9 software used in this case is generally-accepted by the scientific and professional
10 community as a reliable tool for testing and determining (1) capacity of a defined
11 number of staff (the workforce) to meet the demands imposed by the work system

12 and (2) the percent of services that are physically possible or impossible (i.e., failed
13 or omitted). Like the ProModel/MedModel DES testing and analysis conducted for
14 the military, manufacturing and service industries, and healthcare institutions
15 described above and in my prior Declaration, the DES testing of the Brookdale
16 facilities is grounded in the same methods and procedures of science, industrial
17 engineering, and mathematics, and it has been subjected to the same intellectual rigor,
18 scientific methodology, Lean Six Sigma principles, and engineering principles.

19       XI.    MEDMODEL DES TESTING AND FAILURE ANALYSIS OF
20
                          BROOKDALE FACILITIES

21        76.    Overview of Brookdale DES Testing and Results: To date, a total of
22 over 1.3 million MedModel DES tests and failure analyses have been performed
23 related to the 6 Brookdale California facilities (an average of over 210,000
24 engineering tests per facility) for those days during the 3-year timeframe for which
25 Brookdale produced complete or substantially complete data. These tests and the
26 results are set forth in the Table of DES Testing, MEDMODEL0011. These tests and
27 results conclusively establish that the subject Brookdale facilities are systemically
28 understaffed due to the common failure by each facility to provide sufficient numbers
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 1 of staff to deliver the care documented as being needed by residents in their resident
 2 assessments.
 3           77.   MedModel’s comprehensive testing and failure analysis of the 6
 4 Brookdale California facilities’ workload (line-item services required by the residents
 5 on a daily basis) and staffing (the corresponding daily staffing levels) revealed a
 6 pattern and practice of significant understaffing at each of the tested facilities. More
 7 specifically, the number of hours required to perform the daily line-item services at
 8 each facility (workload) exceeded the number of staffing hours available on a daily
 9 basis, resulting in an average daily staffing shortfall of 41.5% per facility (see
10 discussion of test results below). As a consequence of the staffing shortfall, the
11 residents of the 6 selected Brookdale facilities were placed at a substantial and

12 ongoing risk for not receiving required services.
13           78.   Table of DES Testing and Layout: The Table of DES Testing
14 (MEDMODEL0011) details and summarizes the comprehensive engineering testing,
15 inputs, and results of these over 1.3 million tests, organized into 117 unique Test
16 Series (rows of data). Each of these 117 unique Test Series consist at least 7,200 total
17 tests for the 6 facilities combined. Each row of the Table represents a single Test
18 Series (column B), with the general description and critical factor being tested as

19 identified below (columns F through U). Column E of the Table describes the total
20 number of DES tests performed for each Test Series based on the number of days
21 tested (i.e. daily scenarios found in column C) and based on the number of tests per
22 daily scenario (i.e. replications30 in column D).
23           79.   The results of the DES testing and failures analysis are reported in the
24 Table of DES Testing (MEDMODEL0011) for each of the 6 Brookdale facilities in
25 columns AD through AI, entitled “AVERAGE Omitted Care Time %.” Average
26
27   30
          Replications and the random number generator are discussed above in General
28 Inputs.
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 1 Omitted Care Time Percent is calculated by dividing the number of hours of omitted
 2 care time by the average total staff time required per day. For example, assume 100
 3 residents in a facility require 17,000 minutes of total staff time for their care on
 4 November 1. If staff could only deliver 12,000 minutes of this care, then 5,000
 5 minutes would be the omitted care time shortfall. The omitted care time percent
 6 would equal 29% (5,000/17,000 = 29%). This omitted care time percent represents
 7 mathematically and physically impossible/omitted care.
 8         80.    The results reported in columns AC through AH of the Table of DES
 9 Testing (MEDMODEL0011) were calculated by averaging the results of 50 tests
10 performed on a per day basis. For example, the results in cell AD98 (i.e., column
11 AD, row 98) for Brookhurst derive from the average results from the 50 tests

12 performed for each of the 24 days tested—a total of 1,200 tests.31
13         81.    These test results set forth in Table DES Testing (MEDMODEL0011)
14 show that each of the 6 Brookdale facilities failed every one of the tests performed to
15 determine if the facilities had enough staff to provide the care documented as required
16 in resident assessments.
17         82.    Nature and Purpose of DES Testing Conducted in This Case: As
18 part of the comprehensive engineering testing and failure analysis conducted in this

19 case, MedModel tested every critical factor that impacts the amount of staffing
20 required and the amount of care that can be delivered by a set number of staff.32 The
21
22   For sake of organizational completeness, the specific filenames of the various
     31


23 inputs used by the DES testing of these Brookdale facilities and the outputs/results
   are listed in columns V through AA (MEDMODEL0011).
24   32
       For Test Series 1 through 17, MedModel initially tested and analyzed the 6
25   Brookdale facilities using active assessment and staffing data for the 1st and 15th of
     each month for a one-year period (24 days) per facility. This initial testing was
26
     conducted as part of MedModel’s determination of the best case/most care scenario.
27   The year selected for this initial testing (from which data was pulled for the 1st and
     15th of each month) was the year at each facility where the average census numbers
28
     based on active resident assessments most closely matched the census from Labor
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 1 critical factors tested in this case are the same standard kinds of variables and inputs
 2 used and tested by MedModel across the healthcare industry (including hospitals,
 3 clinics, nursing homes, and assisted living facilities) to determine sufficiency of
 4 staffing. More specifically, in the more than 1.3 million tests, MedModel examined
 5 how the following critical factors impacted the amount of staffing required and the
 6 amount of care that was physically possible33:
 7                   a.     Task Times (testing the impact of how much staff time is required
 8            to perform each different care task—see discussion above in General Inputs),
 9                   b.     Bundling of Care Services (testing the impact of performing
10            certain care tasks together for a time savings—see discussion above in General
11            Inputs),
12                   c.     Randomization of Behaviors (testing the impact of when
13            behavioral care interventions occur randomly),
14                   d.     Triangular Distributions-Task Times (testing the impact of task
15            time variation in accordance with industrial engineering principles—see
16            discussion above in General Inputs),
17                   e.     Crossover and Sharing of Staff Between Units (testing the impact
18            of having staff from the assisted living and memory care units work on both
19            units within the model),34
20
21
   Detail Reports. The “best case” testing for all days during the 3-year timeframe
22
   where data produced by Brookdale was complete or substantially complete is
23 discussed below.
   33
24    Each of these listed critical factors is listed separately in the Table of DES Testing
   (MEDMODEL0011) in columns G through U.
25   34
          All DES testing and failure analysis conducted in this case allowed certain staff to
26 “drop-down” and perform care assigned to another. For example, if a Medtech has
27 time available, the model logic allows that Medtech to drop down to perform Care
     Manager tasks. Likewise, LPNs and Care Directors (Supervisors) can drop down and
28 perform Med Tech or Care Manager tasks (if they have available time).
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 1               f.       Two Person Assists (testing the time impact of 2 staff members
 2        being required to perform a given care task),
 3               g.       Travel Speed and Travel Time (testing the impact of travel
 4        distances and how fast staff members travel between locations in the facility
 5        to deliver care),
 6               h.       Stair and Elevator Travel Time (testing the impact of how fast
 7        staff members travel between floors in the facility to deliver care),
 8               i.       Care Priorities (testing the impact of how care activities are
 9        prioritized),
10               j.       Care Windows (testing the impact of how long staff has to
11        perform a care service before it is considered omitted),
12               k.       Staff Productivity (testing the impact of how staff productivity
13        impacts the amount of care that can be delivered),
14               l.       Staff Type Responsible for Care Service (Job Titles) (testing the
15        impact of certain staff—i.e., one job title—being assigned responsibility for all
16        care services),
17               m.       Amount of Staff (HrsPPD) (testing how increasing and
18        decreasing the amount of staff impacts care delivery),
19               n.       Scheduling of Non-Direct Care/Administrative Staff Activities
20        performed by Staff (testing the impact of different schedules of non-direct
21        care/administrative staff activities), and
22               o.       Resident Care Service Scheduling (testing the impact of different
23        schedules of line-item care services).
24        83.    Selection of Best-Case/Most-Care Scenario:            This extensive and
25 methodical testing of these critical factors allowed MedModel to determine the
26 impact of each factor and combinations of factors on the amount of care that was
27 physically possible. Importantly, the results related to these critical factors allowed
28 MedModel to determine the “best case” scenario at each of these 6 Brookdale
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 1 facilities, given their daily staffing and workload levels determined from Brookdale’s
 2 records. The “best case” scenario represents the combination of realistic critical
 3 factors that allow Brookdale staff to provide the most care services to residents.35 The
 4 “best case” scenario was tested for days when complete or substantially complete
 5 data was produced by Brookdale during the 3-year timeframe for each of the 6
 6 selected Brookdale facilities. These final “best case” results set forth in Table of DES
 7 Testing (MEDMODEL0011) are scientifically reliable, conform to accepted
 8 engineering principles, and are accurate.
 9            84.    Results of DES Testing and Failure Analysis for Best-Case /Most-
10 Care Scenarios:          The final “best case” findings for each of the 6 Brookdale
11 California facilities are depicted in the line graphs below (Tables 1-6), as well as the

12 summaries found in Tables 7-10.36
13            85.    Each of the line graphs depicted in Tables 1-6 below show:
14                   a.    The total number of hours required to deliver the care services
15            documented in resident assessments per day on the days where Brookdale
16            produced complete or substantially complete data over the 3-year period
17            (black line) and
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     35
          A number of the DES tests involved unrealistic inputs, described in column AC of
21 the Table of DES Testing (MEDMODEL0011). For example, MedModel tested what
22 happened (a) if Brookdale staff travelled at unrealistic speeds of 28 MPH—the speed
     of Usain Bolt’s top speed and (b) if each care service for Brookdale residents
23 unrealistically required only 1 minute to perform (e.g., only 1 minute to bathe a
24 resident, only 1 minute to toilet a resident, etc.).      See Table of DES Testing,
   MEDMODEL0011, Test Series 7D and 1B and see column AB for description. The
25 results of such unrealistic tests provide MedModel system engineers with
26 information regarding the model’s integrity when extreme input values are tested, as
   well as insight as to what factors are constraining the capacity of the work system.
27   36
          See the complete DES test results, including the “best case” results, for each of the
28 6 Brookdale facilities, MEDMODEL0012 through MEDMODEL0017.
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 1               b.     The total number of hours of available care time for Care
 2         Managers, Medtechs, LPNs, and Care Directors37, after meal breaks, paid
 3         breaks, travel time, and non-direct care/administrative staff activities are
 4         deducted/performed, on the corresponding days where Brookdale produced
 5         complete or substantially complete data over the 3-year period (red line).
 6         86.   The vertical y-axis of the graphs measures the number of hours, and the
 7 horizontal x-axis displays monthly intervals during the years in which complete or
 8 substantially complete data was produced. Each specific data point represented in the
 9 black line and the red line (including its date) derives from the Best Case Results,
10 MEDMODEL0012 through MEDMODEL0017 and is presented in Gap Chart and
11 Table Data, MEDMODEL0018. A gap between the required hours (black line) and

12 the available care hours (red line) indicates that a facility failed to provide sufficient
13 numbers of available staff hours to meet the documented needs of residents.38 The
14 difference between the black line and the red line values (i.e., the size of the gap)
15 shows the degree to which it was mathematically and physically impossible for each
16 of the 6 Brookdale facilities to deliver required care services (i.e., the degree to which
17 each facility was understaffed on a per day basis).
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24   37
     As previously defined, the actual staff hours are derived from every job title variety
25 of Care Manager, MedTech, LPN, and Care Director.
26   38
     For a healthcare facility that has sufficient staff to deliver the care required, the
27 available care hours should be above or in close proximity to the required care hours.
   Accordingly, if the results were graphed, the available care hours line (red) would be
28 above or very near the required care hours line (black).
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16                             Table 1 (Anaheim Gap Chart)

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16                            Table 2 (Brookhurst Gap Chart)

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 1
                      Mirage Inn DES Testing Results
 2                 Required staffing hours vs. available staffing hours
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16                            Table 3 (Mirage Inn Gap Chart)

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 1
                          Irvine DES Testing Results
 2                 Required staffing hours vs. available staffing hours
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16                               Table 4 (Irvine Gap Chart)

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 2
                     New Euclid DES Testing Results
 3                 Required staffing hours vs. available staffing hours
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17                           Table 5 (North Euclid Gap Chart)

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 1
                     Scotts Valley DES Testing Results
 2                  Required staffing hours vs. available staffing hours
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16                            Table 6 (Scotts Valley Gap Chart)

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18        87.    The above line-graphs generated from MedModel’s DES testing and
19 failure analysis shows the prevalence and the degree of understaffing at Brookdale’s
20 facilities. Significantly, on each of the 3,264 days that these 6 Brookdale California

21 facilities had complete or substantially complete data, MedModel’s DES testing and

22 failure analysis revealed that they were systemically understaffed, failing to provide

23 sufficient numbers of staff to meet resident needs.      On every day tested, the time
24 required by staff to deliver line-item care services (black line) exceeded the time staff

25 had available to deliver that care (red line).

26        88.    Average Shortfall of Staff Hours Per Day: MedModel’s DES testing
27 and failure analysis reveals the extent to which each facility was understaffed on a

28 per day basis for the days where Brookdale produced complete or substantially
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 1 complete data over the 3-year period. See Best Case Results, MEDMODEL0012

 2 through MEDMODEL0017, and Gap Chart and Table Data, MEDMODEL0018.

 3 The summary below shows these average per day staffing deficits (measured in

 4 hours):

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17     Table 7 (Average Daily Deficit Analysis for Days Where Brookdale Produced
            Complete or Substantially Complete Data Over the 3-Year Period)
18

19         89.   Total Shortfall of Staff Hours: In this case, MedModel’s DES testing
20 and failure analysis revealed the extent to which each facility was understaffed on the

21 days where Brookdale produced complete or substantially complete data over the 3-

22 year period. See Best Case Results, MEDMODEL0012 through MEDMODEL0017

23 and Gap Chart and Table Data, MEDMODEL0018. The summary below shows these

24 total deficits of staffing hours for each of the 6 Brookdale facilities for those specific

25 days:

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12    Table 8 (Total Deficit Analysis for Days Where Brookdale Produced Complete or
                   Substantially Complete Data Over the 3-Year Period)
13
           90.    Amount of Staff Travel Time and Travel Distance: The summary
14
     below which derives from the DES testing and failure analysis shows: (a) the average
15
     per day amount of time staff was required to travel within the selected facilities in
16
     order to deliver line-item care services and (b) the average total distance staff was
17
     required to travel within these facilities in order to provide this care per day for each
18
     of the 6 Brookdale facilities over the 3-year timeframe (see Best Case Results,
19
     MEDMODEL0012 through MEDMODEL0017 and Gap Chart and Table Data,
20
     MEDMODEL0018):
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13                Table 9 (Staff Travel Time and Travel Distance Analysis)
14

15 Brookdale’s staffing methodology does not sufficiently account for the amount of

16 time staff is required to travel to deliver line-item care services within its facilities

17 and the total distance staff is required to travel in order to provide this care. This

18 failure to sufficiently account for staff travel time and travel distances significantly

19 contributed to Brookdale’s systemic and chronic shortfall of staffing.
20        91.    Percent of Service Time Omitted Analysis: The summary below
21 which derives from the DES testing and failure analysis shows the percent of required

22 time for line-item services that was mathematically impossible for the available staff

23 to deliver. This percentage is calculated by dividing the number of hours of omitted

24 care time by the average total staff time required per day. The summary below

25 displays the percent of omitted care time for each facility on an average daily basis

26 (see Best Case Results, MEDMODEL0012 through MEDMODEL0017 and Gap

27 Chart and Table Data, MEDMODEL0018):

28
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 1                                                                      Percent of Required
                          Percent of Required   Percent of Required
                                                                           Care/Service
                             Care/Service          Care/Service
 2    Name of Facility
                             Time Omitted          Time Omitted
                                                                           Time Omitted
                                                                            Full Facility
                               AL Unit               MC Unit
 3                                                                          (AL + MC)
         Anaheim                40.1%                 41.8%                   40.8%
 4
        Brookhurst              48.6%                 51.4%                   49.9%
 5      Mirage Inn              42.5%                 49.8%                   46.9%

 6         Irvine               35.9%                  N/A                    35.9%
        North Euclid            33.9%                  N/A                    33.9%
 7
        Scotts Valley           41.8%                  N/A                    41.8%
 8
                 Table 10 (Percent of Required Service Time Omitted Analysis)
 9
10         92.      Common And Systemic Understaffing: Based on MedModel’s DES
11 testing and failure analysis, each of the selected Brookdale California facilities are

12 similar: they were systemically understaffed, failing to provide sufficient numbers
13 of staff to meet resident needs throughout the study periods. The common disparity
14 at each of these Brookdale facilities between staff (hours of actual time available to
15 deliver care) and workload (hours of required time) was so large that it was
16 mathematically and physically impossible for Brookdale staff at these facilities to
17 deliver all care and services required by residents. As a result, all Brookdale residents
18 at these 6 facilities were placed at a significant and continuing risk of not receiving

19 the required care services documented in their care assessments during the time
20 period covered by the studied data.
21         93.      Consistently, the workload at each of the selected Brookdale California
22 facilities (care hours required by residents) far exceeded the actual staff hours
23 available to deliver care at each facility. This shared staffing problem (the gap
24 between required and actual hours) cannot be resolved without either (a) increasing
25 staff hours, (b) decreasing the number of care service tasks (workload), or (c) a
26 combination of both. More specifically, MedModel’s DES testing and failure
27 analysis scientifically determined that only by increasing staff, decreasing workload,
28 or both did staff have the capacity to complete all work required. In other words, no
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